       In The Matter Of:
Fayetteville Public Library, et al v.
 Crawford County, Arkansas, et al




    Madeline Anne Partain
       March 15, 2024
 CERTIFIED ORIGINAL/COPY



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Fayetteville Public Library, et al v.         CERTIFIED ORIGINAL/COPY                                       Madeline Anne Partain
Crawford County, Arkansas, et al                                                                                   March 15, 2024
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 1          IN THE UNITED STATES DISTRICT COURT                  1              A P P E A R A N C E S (CONTINUED)
               WESTERN DISTRICT OF ARKANSAS
 2                   FAYETTEVILLE DIVISION                       2   MR. BENJAMIN M. SEEL
                                                                     Attorney at Law
 3 FAYETTEVILLE PUBLIC LIBRARY, a political                      3   Democracy Forward Foundation
   subdivision in the City of Fayetteville,                          P.O. Box 34554
 4 State of Arkansas; EUREKA SPRINGS CARNEGIE                    4   Washington, DC 20043
   PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY                          bseel@democracyforward.org
 5 SYSTEM; NATE COULTER; OLIVIA FARRELL;                         5                         (VIA TEAMS)
   HAYDEN KIRBY;MIEL PARTAIN, in her own capacity                    *** For the Arkansas Library Association, Advocates for
 6 and as parent and next friend of MADELINE PARTAIN;            6   All Arkansas Libraries and Adam Webb, in his individual
   LETA CAPLINGER; ADAM WEBB;                                        capacity ***
 7 ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR                   7
   ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;                       MS. REBECCA HUGHES PARKER
 8 WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a                    8   Attorney at Law
   WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;               Dentons US, LLP
 9 ASSOCIATION OF AMERICAN PUBLISHERS,INC.; AUTHORS              9   1221 Avenue of the Americas
   GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND                        New York, NY 10020
10 and FREEDOM TO READ FOUNDATION,                 PLAINTIFFS   10   rebeccahughes.parker@dentons.com
                                                                                           (VIA TEAMS)
11 vs.                                  NO. 5:23-CV-05086-TLB   11   *** For the Plaintiffs, Pearl's Books, LLC; Wordsworth
                                                                     Community Bookstore, LLC; American Booksellers
12 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his               12   Association; Association of American Publishers, Inc.;
   official capacity as Crawford County Judge;                       Authors Guild, Inc; Comic Book Legal Defense Fund; and
13 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;                13   Freedom to Read Foundation ***
   MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
14 HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;               14   MR. PHILIP A. ELMORE
   JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;               Attorney at Law
15 DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,         15   Quattlebaum, Grooms & Tull, PLLC
   II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.                   4100 Corporate Center Drive, Suite 310
16 LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;         16   Springdale, Arkansas 72762
   CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK                pelmore@qgtlaw.com
17 GRAHAM, each and in his or her official capacity as a        17                        (VIA TEAMS)
   prosecuting attorney for the State of Arkansas, DEFENDANTS        *** For the Plaintiff, Fayetteville Public Library ***
18                                                              18
19                                                              19
                       ORAL DEPOSITION
20                                                              20
                               OF
21                                                              21
                    MADELINE ANNE PARTAIN
22                                                              22
23 ***** THE ABOVE-STYLED MATTER was reported by Michelle R.    23
   Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
24 Law Firm, located at 1101 Walnut, Van Buren, Arkansas,       24
   commencing on the 15th day of March 2023, at 8:24 a.m.
25 *****                                                        25

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 1                 A P P E A R A N C E S                         1                            I N D E X
 2 MR. SAMUEL S. MCLELLAND                                       2        TOPIC                                             PAGE
   Attorney at Law
 3 PPGMR Law, PLLC                                               3   APPEARANCES                                              2-3
   201 East Markham Street, Suite 201
 4 Little Rock, Arkansas 72201                                   4   STIPULATIONS                                               5
   sam@ppgmrlaw.com
 5                                                               5   WITNESS SWORN:    Madeline Anne Partain                    6
   *** For Crawford County, Arkansas, and County Judge
 6     Chris Keith, in his official capacity ***                 6              Examination by Mr. McLelland                    6
 7 MR. NOAH WATSON                                               7              Examination by Mr. Watson                      29
   MS. CHRISTINE A. CRYER
 8 Senior Assistant Attorneys General                            8              Examination by Ms. Brownstein                  37
   323 Center Street, Suite 200
 9 Little Rock, Arkansas 72201                                   9              Examination by Mr. Adams                       48
   Noah.Watson@ArkansasAG.gov
10 Christine.cryer@ArkansasAG.gov                               10              Further Examination by Ms. McLelland    41;49;52
11 *** For the State of Arkansas Prosecuting Attorneys ***      11              Further Examination by Mr. Watson          47;56
12 MS. BETTINA E. BROWNSTEIN                                    12              Further Examination by Ms. Brownstein          51
   Attorney at Law
13 Bettina E. Brownstein Law Firm                               13   REPORTER'S CERTIFICATE                                    57
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14 Little Rock, Arkansas 72201                                  14                        E X H I B I T S
   bettinabrownstein@gmail.com
15                                                              15   NUMBER                  DESCRIPTION                    PAGE
   *** For the Plaintiffs, Olivia Farrell, Jennie Kirby,
16 Hayden Kirby and Leta Caplinger ***                          16   Deft's 1     Copy of Amended Complaint-Document 75         7
   *** On Behalf of the Arkansas Civil                                        (COPY OF EXHIBIT SCANNED INTO ETRANSCRIPT)
17     Liberties Union Foundation, Inc. ***                     17
18 MR. JOHN T. ADAMS                                            18                            * * * * *
   Attorney at Law
19 Fuqua Campbell, P.A.                                         19
   Riviera Tower - 3700 Cantrell Road, Suite 205
20 Little Rock, Arkansas 72202                                  20
21 *** For The Plaintiffs, Central Arkansas Library System,     21
   Nate Coulter and the Eureka Springs Carnegie Public
22 Library ***                                                  22
23                (CONTINUED ON NEXT PAGE)                      23
24                                                              24
25                                                              25


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 1           ANSWERS AND DEPOSITION OF MADELINE ANNE PARTAIN,
                                                                 1 Q Do you work?
 2 a witness produced at the request of the DEFENDANTS, was
                                                                 2 A Yes.
 3 taken in the above-styled and numbered cause on the
                                                                 3 Q What do you do for a job?
 4 15th day of March 2023, before Michelle R. Satterfield,
                                                                 4 A I work at Baked on Main on Main Street.
 5 CCR, a Notary Public in and for Faulkner County, Arkansas,
                                                                 5 Q Okay. What is that?
 6 at the offices of the Wahlmeier Law Firm, P.A., located at    6 A It's a bakery.
 7 1101 Walnut, Van Buren, Arkansas, at 8:24 a.m., pursuant      7 Q Okay. How long have you had that job?
 8 to the agreement hereinafter set forth.                       8 A A few months. Before that I worked at the business
 9                                                               9 that is connected to it.
10                                                              10 Q Okay. What business is that?
11                                                              11 A The Meat Station.
                   S T I P U L A T I O N S
12                                                              12 Q Okay. Are they owned by the same owner?
             IT IS STIPULATED AND AGREED by and between the
13                                                              13 A It's a couple that owns it.
   parties through their respective counsel that the
14                                                              14 Q Okay. I'm going to introduce Defendant's 1.
   deposition of Madeline Anne Partain may be taken at the
15                                                              15           MR. MCLELLAND: For those attending on
   time and place designated pursuant to the Federal Rules of
16                                                              16        Teams, this is just the Complaint, if y'all want
   Civil Procedure.
17                                                              17        to pull it up.
                          * * * * *
18                                                              18           MS. BROWNSTEIN: Is that the Amended
19                                                              19        Complaint or the Complaint?
20                                                              20           MR. MCLELLAND: Sorry, the Amended
21                                                              21        Complaint. Thank you for keeping me straight.
22                                                              22           This is Document 75 for those in attendance
23                                                              23        on Teams.
24                                                              24 (Defendant's Exhibit 1 marked & attached hereto.)
25                                                              25 BY MR. MCLELLAND:


                                                       Page 6                                                         Page 8

 1           MADELINE ANNE PARTAIN,                              1 Q Ms. Partain, I've handed you a copy of the Amended
 2 the witness hereinbefore named, having been previously        2 Complaint that is marked Defendant's 1 that was filed in
 3 cautioned and sworn, or affirmed, to tell the truth, the      3 this case in March. Do you see, at the top of that
 4 whole truth, and nothing but the truth, testified as          4 document, where it says Document 75?
 5 follows:                                                      5 A Yes.
 6              EXAMINATION                                      6 Q Okay. And do you see, on the first page there, kind
 7 BY MR. MCLELLAND:                                             7 of in the -- in kind of the first quarter it says Miel
 8 Q Good morning, Ms. Partain. Can you state your name          8 Partain? Am I saying that right?
 9 for the record?                                               9 A Miel.
10 A Madeline Partain.                                          10 Q Miel Partain.
11 Q And how old are you?                                       11     Your mother suing in her own capacity and as parent
12 A Seventeen.                                                 12 and next friend of Madeline Partain. Do you see that?
13 Q Okay. And when will you turn 18?                           13 A Yes.
14 A June 7th.                                                  14 Q Okay. Why did you join -- why are you bringing this
15 Q Okay, cool. So you're a senior?                            15 lawsuit?
16 A Yes.                                                       16 A I believe everyone has a right to read any book they
17 Q Okay. Where do you go to school?                           17 choose.
18 A Van Buren High School.                                     18 Q Okay. And what is your understanding of the lawsuit?
19 Q And before you went to Van Buren High School, where        19 A That books deemed inappropriate would be relocated.
20 did you go; what school did you go to before high school?    20 Q Okay. And what is -- what's your basis for -- strike
21 A Butterfield Middle School.                                 21 that.
22 Q Okay. Is that here in Crawford County?                     22     Are you seeking to stop Act 372 from going into
23 A Yes.                                                       23 effect in this case?
24 Q Have you lived in Crawford County your whole life?         24 A Yes.
25 A Yes.                                                       25 Q Have you read Act 372?


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 1 A Yes.                                                         1 did you go check them all out? Like how did you come to
 2 Q Okay. And is it your understanding that by                   2 acquire that information?
 3 stopping -- and if I get this wrong, please correct me.        3 A I went and I looked at the section.
 4     Is it your understanding that by stopping Act 372,         4 Q Okay. Have you looked at all of the Social Sections
 5 you will -- that books deemed inappropriate won't be           5 in the Crawford County Library System?
 6 relocated?                                                     6 A No.
 7 A Yes.                                                         7 Q Okay. Are you aware that there are five branches of
 8 Q Okay. Are you aware that this lawsuit was pending --         8 the Crawford County Library System?
 9 has been pending since last summer?                            9 A Yes.
10 A Yes.                                                        10 Q Okay. Are you aware that -- are you aware that all
11 Q Okay. And, also, I forgot to -- I just jumped right         11 five have a Social Section?
12 in, I apologize. If at any point you need a break during      12 A Yes.
13 this, just let me know and we're happy to take a break.       13 Q Okay. If I was to tell you that there was a branch
14     And Michelle here is going to try to take down            14 of the Crawford County Library System that did not have a
15 everything that you and I are saying and we've done a good    15 Social Section, would that surprise you?
16 job thus far, so we both can keep doing that. So I'm not      16 A Yes.
17 going to try to talk over you and I'm going to ask you to     17 Q Okay. In this lawsuit, are you in any way seeking to
18 try not to talk over me, so that way we can get a clean       18 get rid of the Social Section?
19 record, because the transcript will be succinct in that       19 A Yes.
20 way. Sorry, I forgot to tell you that at the beginning.       20 Q Okay. So if the judge rules in your favor in this
21     Back to Act 372. So you were aware that the lawsuit       21 case based upon, you know, the claims that you've brought,
22 was pending last summer, correct?                             22 and he rules in your favor, it's your desire that the
23 A Yes.                                                        23 Social Section will be removed?
24 Q Okay. And what made you want to join the lawsuit as         24 A Yes.
25 a Plaintiff?                                                  25 Q Okay. Do you know who created the Social Section; do


                                                       Page 10                                                         Page 12

 1 A I feel that it would hinder my ability to checkout           1 you know how it came to be?
 2 books that I would be interested in reading.                   2    Do you know who -- do you know how the Social Section
 3 Q What books are you interested in reading?                    3 came to be?
 4 A Books that -- with LGBT themes that would be -- that         4 A Somewhat.
 5 have been already relocated.                                   5 Q Okay. What's your understanding?
 6 Q When you say already relocated, what are referring           6 A I know that a letter was written to the Quorum Court,
 7 to?                                                            7 I believe, and I actually attended the first library board
 8 A Into the Social Section.                                     8 meeting about it.
 9 Q Okay.                                                        9 Q When was that library board meeting?
10 A Sorry.                                                      10 A January of 2023.
11 Q So you're referring to Crawford County's --                 11 Q Was that your first library board meeting to go to?
12 A Yes.                                                        12 A Yes.
13 Q -- use of its Social Section?                               13 Q And do you remember -- at that library board meeting,
14 A Yes.                                                        14 do you remember the specific date that it was, by chance?
15 Q Okay. So what's your understanding of the Social            15 A January 10th.
16 Section?                                                      16           MR. MCLELLAND: Let's go off the record.
17 A The criteria is unclear, but I have looked at it and        17     (Off the record - technical difficulty)
18 most -- the overwhelming majority of the books put in the     18 BY MR. MCLELLAND:
19 Social Section have LGBT+ themes.                             19 Q I believe right before we got disconnected I had
20 Q And how do you know that?                                   20 asked you about attending the library board meeting here
21 A Because I -- how do I know that?                            21 in Crawford County in January of 2023.
22 Q Yeah, how do you know that the overwhelming majority        22    Do you remember the specific date that that meeting
23 of the books in the Social Section are LGBTQ themed?          23 took place?
24     And I'm not trying to play like a gotcha or I'm --        24 A January 10th.
25 I'm just curious. Did you read them all, have you looked      25 Q Okay. And do you remember Grzymala -- Ms. Deidre


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 1 Grzymala speaking at that meeting?                           1 Q Well, no, let me rephrase. You said that there were.
 2 A Probably.                                                  2 I asked you why the Social Section was created and you
 3 Q It's okay if you don't.                                    3 said because certain people believe that the material in
 4     Do you remember what was said at the January 10th        4 the Social Section is not appropriate for children. Do
 5 meeting about the Social Section?                            5 you remember us -- do you remember saying something to
 6 A Not specifically.                                          6 that effect?
 7 Q Do you remember what was generally said about it?          7 A Yes.
 8 A I know they were discussing creating it.                   8 Q When you say that there are certain people who
 9 Q Okay. Do you remember who stated -- do you remember        9 believe that the material is not appropriate, are you
10 who spoke about creating the Social Section at the          10 referring to any particular person when you say certain
11 January 10th meeting?                                       11 people?
12 A No.                                                       12 A No, not specifically.
13 Q Did your mom attend that meeting with you?                13 Q Okay. Do you remember earlier, right before we got
14 A No.                                                       14 cut off, you said there was a letter written to the Quorum
15 Q Okay. Which branch of the Crawford County Library         15 Court. Do you remember saying that?
16 System do you primarily use?                                16 A Yes.
17 A The Van Buren Branch.                                     17 Q What letter are you referring to?
18 Q Have you used any other branch?                           18 A Written by -- it was -- I think it was Tammi Hamby.
19 A No.                                                       19 It may have been her husband. I'm not positive. Stating
20 Q Okay. When you use the Van Buren Branch, do you go        20 that there were graphic books that featured something to
21 to the Social Section?                                      21 the effect of alternative lifestyles, referring to LGBT+
22 A Yes.                                                      22 relationships.
23 Q Do you check out books from the Social Section?           23 Q Have you reviewed any of the pleadings in this case
24 A I have not yet.                                           24 that -- yeah, have you reviewed any of the pleadings in
25 Q Okay. Is there a reason why you've not checked out        25 this case, the things that were filed of record?


                                                     Page 14                                                         Page 16

 1 books from the Social Section, a particular reason?          1 A I don't believe so.
 2 A No. It can be uncomfortable, though.                       2 Q Okay. A pleading -- you may not know. A pleading is
 3 Q Okay. When you say it can be uncomfortable, you mean       3 a document like the one I've handed you as Exhibit 1 that
 4 it can be uncomfortable to go to the Social Section?         4 has a document stamp on it at the top, where it says
 5 A Yes. It's directly next to the librarian's desk and        5 Document 75.
 6 with all of the controversy around it, it can be             6     Have you ever reviewed any documents that have other
 7 uncomfortable to know that they can see me and see what      7 document stamps on it?
 8 I'm getting and know that they probably have opinions and    8 A Yes.
 9 might be judging me, even.                                   9 Q Okay. What documents were those? Do you remember
10 Q Okay. And so you said that at the January 10th            10 what they were called?
11 meeting people were discussing creating the Social          11 A I don't know.
12 Section. Do you know who determined which books went into   12 Q That's okay. How many times have you gone to the
13 the Social Section?                                         13 Social Section at the Van Buren Branch, approximately?
14 A I do not.                                                 14 A Once.
15 Q Do you know who physically moved the books from --        15 Q Okay. How often do you go to the Van Buren Branch in
16 who physically moved the books to the Social Section?       16 general; like not just the Social Section, but go to the
17 A I would assume the librarians.                            17 library in general?
18 Q Do you know why the Social Section was created?           18 A Not often.
19 A Because certain people believe the content in those       19 Q Okay. In the last six months, how many times have
20 books are inappropriate for younger people.                 20 you been, approximately?
21 Q And do you know who -- are there any -- is there any      21 A Probably two to three times.
22 person in particular you're referring to when you say       22 Q And when you go, what do you do, or what did you do?
23 certain people?                                             23 A Looked at books.
24 A I'm not positive who decides what goes into the           24 Q Okay. And I know that may sound like a crazy
25 Social Section.                                             25 question, but I'm just trying to figure out what all --


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 1 what you know and don't know. I don't know you and so I'm     1 Q Okay. If we'll look at Paragraph 81.
 2 just trying to figure out what you know and what you don't    2 A Okay.
 3 know.                                                         3 Q So this says that Ms. Hamby was appointed by Judge
 4    When you went to go look at books, did you see -- did      4 Chris Keith to the Library Board in December. Do you see
 5 you see the Social Section when you went to go look at        5 that?
 6 books?                                                        6 A Yes.
 7 A The last I time I went, yes.                                7 Q Okay. And then it announced on January 10th, which
 8 Q Did you see anybody in the Social Section when you          8 is, I think, when the meeting was, that the Crawford
 9 went?                                                         9 County Library had moved their -- had, quote, "moved their
10 A No.                                                        10 LGBTQ children's books out of the children's section into
11 Q Do you know if children -- and by children, let me be      11 a new area within their respective adult sections."
12 clear. Do you know if people under the age of 18 can go      12     Do you see that?
13 into the Social Section?                                     13 A Yes.
14 A They can.                                                  14 Q Okay. Where it says that the books have been moved
15 Q Okay. Have you seen anybody under the age of -- or         15 into the respective adults' area, the books weren't moved
16 have you seen anybody that appears to you to be under 18     16 into an adults only area, were they, where only adults
17 go to the Social Section when you've been at the library?    17 could go?
18 A No one other than myself.                                  18 A No.
19 Q Okay. Are you aware whether Crawford County has ever       19 Q Okay. Paragraph 82, have you read Who Believes What,
20 implemented, meaning put into effect, Act 372? Are you       20 Exploring the World's Major Religions?
21 aware of whether Crawford County ever put Act 372 into       21 A No.
22 effect?                                                      22 Q Have you read All About Anxiety?
23 A I'm not.                                                   23 A No.
24 Q Okay. If you will turn with me to Page 25 of               24 Q Okay. Do you know whether those books are housed at
25 Defendant's Exhibit 1, looking at Paragraph 80.              25 the Crawford County -- let me be specific.


                                                      Page 18                                                         Page 20

 1           MR. MCLELLAND: And for those listening              1     Do you know whether those books are housed at the Van
 2       online, we're on Page 25 of Document 75,                2 Buren Branch of the Crawford County Library System?
 3       paragraph 80.                                           3 A No.
 4 BY MR. MCLELLAND:                                             4 Q Okay. And I'm assuming because you don't go to the
 5 Q All right. If you would, just take a moment to read         5 other branches, are you aware whether those two books are
 6 Paragraph 80 and then it continues on to the next page.       6 housed at any of the other branches of the Crawford County
 7 A Okay.                                                       7 Library System?
 8 Q Ms. Partain, this Paragraph 80 talks about Jeff and         8 A No.
 9 Tammi Hamby sending a letter to the Crawford County or        9 Q Okay. How are -- it says here that approximately 263
10 sending a letter -- sorry, let me rephrase.                  10 books have been placed in the Social Sections of the CCL
11    This paragraph talks about Jeff and Tammi Hamby           11 branches.
12 sending a letter in November of 2022. Is that the letter     12     Are you aware of whether there are approximately 263
13 that you were referencing earlier that you and I were        13 books?
14 talking about?                                               14 A There is definitely less than that amount in the Van
15 A Yes.                                                       15 Buren Branch.
16 Q Okay. Have you ever spoken with Ms. Hamby or               16 Q Okay. But you haven't been to the other branches, I
17 Mr. Hamby?                                                   17 guess, to see the other ones?
18 A No.                                                        18 A No.
19 Q Okay. Do you know if Tammi Hamby -- are you aware          19 Q Okay. Paragraph 83, if you want to take a second to
20 that Tammi Hamby is on the Library Board here in Crawford    20 review that.
21 County?                                                      21 A Okay.
22 A Yes.                                                       22 Q Okay. And it says here that Crawford County, through
23 Q Okay. Do you know how she got onto the Library             23 its attorney, declined to do so. Instead, Crawford County
24 Board?                                                       24 insisted that it was within its rights to protect children
25 A No.                                                        25 from exposure to materials that might harm their innocence


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 1 by segregating materials that, in Crawford County's           1 Q Okay. And that's -- and I'll ask her about that.
 2 judgment, quote, "might", be harmful to some minors.          2 A Okay.
 3    Do you see that?                                           3 Q I don't -- and after this person contacted your
 4 A Yes.                                                        4 mother, what did she say to you about the lawsuit?
 5 Q Did anybody at the Library Board Meeting, on January        5 A She explained it to me and asked if I wanted to
 6 10th, say anything to that effect?                            6 become a plaintiff.
 7 A Yes.                                                        7 Q And what did you say?
 8 Q Okay. Who said it?                                          8 A Yes.
 9 A I'm not positive of names.                                  9 Q Good answer. All right. So your mother said -- or
10 Q Okay. But there were just people who said things           10 your mother told you about the lawsuit and you said, yeah,
11 similar to this?                                             11 I want to join as a plaintiff; is that right?
12 A As in the Library Board or the public?                     12 A Yes.
13 Q Both.                                                      13 Q And I think we talked about this earlier. I just
14 A Yes, several.                                              14 want to make sure we're clear. You joined the lawsuit so
15 Q Okay. As far as people who -- non-board members who        15 that you can -- because you don't -- you joined the
16 spoke, do you remember who said anything to that effect at   16 lawsuit because you want to make sure that people who want
17 the January 10th meeting?                                    17 to check out books can check out books; is that right?
18 A I didn't know them.                                        18 A Yes.
19 Q Okay. So you don't know their names?                       19 Q And if you need to clarify, feel free to of why --
20 A No.                                                        20 why did you join the lawsuit?
21 Q As far as the library board members, do you remember       21 A I believe minors should have access to read the books
22 anybody saying anything to that effect?                      22 that they want to read.
23 A No.                                                        23 Q Has Crawford County ever prevented you -- or let me
24 Q Okay. Paragraph 84 -- and you can go ahead and read        24 rephrase.
25 85 as well. We'll just do those together.                    25    Has Crawford County Library System ever prevented you

                                                      Page 22                                                         Page 24

 1 A Okay.                                                       1 from checking out a book?
 2 Q And I think I asked you this earlier, but now that          2 A No.
 3 we've had a moment to go through your Complaint, the --       3 Q And are you aware -- well, when you joined the
 4 are you aware of whether Crawford County ever implemented     4 lawsuit, are you aware that there are other people from
 5 Act 372?                                                      5 Crawford County that are a part of the lawsuit?
 6 A No.                                                         6 A Yes.
 7 Q Okay. So you're not aware whether it did or did not         7 Q Do you know Leta Caplinger?
 8 implement it?                                                 8 A I know the name.
 9 A No.                                                         9 Q Have you ever met her?
10 Q Okay. So if Crawford County had implemented Act 372,       10 A No.
11 you wouldn't know? You wouldn't know if that was true or     11 Q Have you ever talked to her?
12 not?                                                         12 A No.
13 A Correct.                                                   13 Q Are you aware that there's another lawsuit involving
14           MR. MCLELLAND: Okay. Let's take a quick            14 the Social Section currently going on?
15       break. Let me go over my notes. I don't think          15 A Yes.
16       I've got much more.                                    16 Q Okay. What do you know about that lawsuit?
17         (Brief recess was taken.)                            17 A They're trying to get rid of the Social Section.
18 BY MR. MCLELLAND:                                            18 Q And is that what you're trying to do in this case?
19 Q Ms. Partain, do you realize that you're still under        19 A No.
20 oath to give true testimony?                                 20 Q Okay. Do you remember earlier saying that you wanted
21 A Yes.                                                       21 the Social Section overturned?
22 Q Okay. How did you get involved in this lawsuit?            22 A Yes.
23 A My mother was contacted.                                   23 Q Okay. And now you're telling me that you don't want
24 Q Okay. Who contacted your mother?                           24 the Social Section overturned; is that right?
25 A I'm not sure of the name.                                  25 A I personally do. That's not what this case is about.


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 1 Q Okay. So earlier when you said that, were you                1 policy as outlined in Paragraph 85?
 2 mistaken?                                                      2 A Can you rephrase the question?
 3 A About this case's involvement in that?                       3 Q Yes. Do you have any information -- do you have any
 4 Q Yeah. Earlier when you said that you brought this            4 information, or do you have any beliefs that Crawford
 5 case -- earlier we were discussing that you brought this       5 County intends to adopt a policy that materials containing
 6 case because you wanted to see the Social Section              6 LGBTQ themes will be segregated on that viewpoint?
 7 overturned and now you've stated to me that this case          7 A They already have with the Social Section.
 8 doesn't involve the Social Section and I believe my --         8 Q Okay. And if I misstate this, correct me, but I'm
 9            MR. MCLELLAND: What was my question? Can            9 just trying to understand your testimony. So it's your
10        you read back my earlier question?                     10 position that because Crawford County created the Social
11        (Previous questions read back.)                        11 Section, it will, in the future, should Act 372 go into
12            MR. MCLELLAND: I remember what it was now.         12 effect, further segregate LGBTQ material?
13 BY MR. MCLELLAND:                                             13 A Yes.
14 Q All right. So you remember we discussed earlier that        14 Q Okay. And it's your position that Crawford County
15 you said that you wanted the -- you brought this lawsuit      15 cannot segregate books on -- cannot segregate books
16 to try to overturn the Social Section and now you're          16 containing LGBTQ themes -- it's your position that
17 saying that this case is not about the Social Section. Is     17 Crawford County cannot segregate books based upon LGBTQ
18 that right?                                                   18 viewpoints expressed in that book?
19 A Yes, I misspoke.                                            19 A Cannot or should not?
20 Q Okay. That's what I was looking for. Thank you.             20 Q Cannot.
21     When did you realize that you had misspoken?              21            MS. BROWNSTEIN: I'm going to object again.
22 A Now.                                                        22        That's asking her to give a legal opinion.
23 Q All right. If you'll look at Paragraph 80 with me --        23            MR. MCLELLAND: Are you instructing her not
24 I'm sorry, 85.                                                24        to answer?
25 A Okay.                                                       25            MS. BROWNSTEIN: No, you may answer, but,

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 1 Q So if you'll see it says, "On information and belief,        1       again, qualifying she's not an attorney, whether
 2 Crawford County intends to adopt a policy that materials       2       or not they can or cannot segregate LGBTQ books,
 3 containing LGBTQ themes or discussing other 'social            3       but I -- I think her question is should not --
 4 issues' might harm the innocence of children and that on       4           MR. MCLELLAND: And that's my next
 5 that basis any such materials must be segregated based on      5       question.
 6 the viewpoint contained therein once Act 372 goes into         6           MS. BROWNSTEIN: Okay.
 7 effect."                                                       7 A I believe they have the ability to.
 8    Did I read that right?                                      8 Q But that they should not?
 9 A Yes.                                                         9 A Yeah, I don't think that's right.
10 Q So are you asserting, in this case, that -- so what         10 Q Okay. And why is that not right?
11 information and belief do you have that leads you to          11 A Because everyone -- I don't think they should get to
12 believe this?                                                 12 decide who can read what.
13           MS. BROWNSTEIN: First I need to register            13 Q So how would Act 372 allow Crawford County to decide
14        an objection. Obviously Madeline Partain is not        14 who gets to read what?
15        an attorney. This was drafted by an attorney.          15           MS. BROWNSTEIN: Again, I need to object
16        Yes, she did read the Complaint, but she is a          16       here. She can answer, so far as you understand
17        17-year-old minor and not an attorney, and on          17       she is not qualified as an attorney to render a
18        that basis I'm going to object to anything that        18       legal opinion as to what they can or cannot do.
19        asks her to understand the legalese in this            19           You may answer if you understand.
20        Complaint.                                             20 A They would decide what challenged books would be
21           MR. MCLELLAND: Okay, objection noted.               21 inaccessible to minors.
22           MS. BROWNSTEIN: You may answer.                     22 Q In the Van Buren Branch of the Crawford County
23 BY MR. MCLELLAND:                                             23 Library, in its Social Section are there books in that
24 Q And I'll repeat the question. What information and          24 Social Section that do not have LGBTQ themes?
25 belief do you have that Crawford County intends to adopt a    25 A Yes.


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 1 Q Okay. Do you know what themes those books contain,          1 happening in the lawsuit?
 2 the non-LGBTQ books?                                          2 A Yes.
 3 A What themes they contain?                                   3 Q Okay. And I want to focus most of my time on asking
 4 Q Yeah, if they don't contain LGBTQ themes, what themes       4 you about that first piece -- or the piece that I had just
 5 do they contain?                                              5 mentioned, the criminal provision.
 6 A I'm not sure.                                               6    Why are you -- in this case, why are you part of this
 7 Q Okay. You just know that they're not LGBTQ themes?          7 case challenging that section of the law?
 8 A Yes.                                                        8 A I don't think it's the responsibility of the person
 9          MR. MCLELLAND: All right. I'll pass.                 9 providing the books to regulate what minors read.
10              EXAMINATION                                     10 Q So are you aware -- I guess this would have been a
11 BY MR. WATSON:                                               11 better question to start with.
12 Q Good morning, Ms. Partain. Thank you for being here.       12    Are you aware of what the law is aimed at, about what
13 I'm Noah Watson. I know -- well, first of all, do you        13 items and books are covered by the law?
14 need a break or are you still good?                          14 A Yes.
15 A I'm good.                                                  15 Q You are. So what is your understanding of what --
16 Q All right. Awesome. So first of all I want to              16 Section 1 is how we've been referring to it. So when I
17 commend you. I know when I was a senior in high school I     17 say Section 1, if you don't know what I'm talking about,
18 would not want to be here talking to some random men         18 just say, hey, what are you talking about, explain that to
19 answering a lot of questions, so thank you first of all.     19 me again.
20    And second of all, I will be a random man asking you      20    And that goes for anything I say. Please feel free,
21 questions, so I'll go ahead and do that. I shouldn't have    21 because I want to make sure we're on the same page and,
22 too many because Mr. McLelland took care of most of it.      22 you know, answering the same questions.
23    So in your conversations with Mr. McLelland, you were     23           MS. BROWNSTEIN: Man, you talk fast.
24 mostly talking about Crawford County and the Social          24           Can you get this down?
25 Section?                                                     25           MR. WATSON: I will slow down.

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 1 A Uh-huh.                                                     1 BY MR. WATSON:
 2 Q Did I understand your testimony correctly at this           2 Q So what is your understanding of what Section 1
 3 point?                                                        3 covers, what items?
 4 A Yes.                                                        4 A The themes in the books, to my understanding, is what
 5 Q So this lawsuit is actually challenging two pieces of       5 would be deemed inappropriate or contain LGBT themes.
 6 Act 372, and one of those is about the libraries and          6 Q Okay. So my understanding of the law, that is mostly
 7 policies they can have, and another piece of it is a          7 the Section 5 piece, and I will read from the statute, or
 8 criminal law that makes it illegal to give minors items       8 a portion of it.
 9 that are so-called harmful to minors as defined under the     9           MR. WATSON: And, Bettina, I will note your
10 statute.                                                     10        objection to the fact that I will not be reading
11    Are you aware of that part of the challenge?              11        the entire statute, so no worries, but, also, so
12 A Yes.                                                       12        we all know.
13           MS. BROWNSTEIN: And I'm going to object to         13 BY MR. WATSON:
14        the characterization of Section 1. I don't            14 Q The law is targeted at what is called items and
15        think it's as full as what the --                     15 giving those items to minors, if those items are harmful
16           MR. WATSON: Sure --                                16 to minors. And the way it describes items is this: So
17           MS. BROWNSTEIN: -- Act and neither Section         17 item means a material or performance that depicts or
18        1 or Section 5 would require. So with that            18 describes nudity, sexual conduct, sexual excitement, or
19        objection, you may answer.                            19 sadomasochistic abuse.
20           MR. WATSON: I'm just trying to get an              20    So, sorry, that's awkward. A random man asking
21        overview here --                                      21 random questions, I understand, but when I just read
22           MS. BROWNSTEIN: No, I understand, but I            22 those, none of those dealt with LGBTQ themes. And, again,
23        wanted to register that objection.                    23 I understand this is a pretty unclear question. Are there
24 BY MR. WATSON:                                               24 any --
25 Q But you're aware of the two challenges that are            25           MR. WATSON: Go ahead.


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 1            MS. BROWNSTEIN: Are you finished with the           1 A No.
 2        question? I need to object. I object to your            2 Q Okay. I hope that's the end of the awkward questions
 3        characterization that it does not deal with             3 that I have. You know, there's my warning, but if it
 4        LGBTQ theme. It does not state LGBT -- I can't          4 comes up again, I'm sorry.
 5        even say it, but it does not mean it does not --        5     So now I want to go back, very quickly, to Section 5.
 6        will not deal with it.                                  6 So this is about the library specifically. Are you aware
 7 BY MR. WATSON:                                                 7 of anyone -- so part of the way that Section 5 is set up,
 8 Q Okay. Based on your understanding, do all books that         8 it allows certain people to challenge books that are in
 9 deal with LGBTQ themes deal with nudity, sexual conduct,       9 the library's collection.
10 sexual excitement or sadomasochistic abuse?                   10     Are you aware of that?
11 A No.                                                         11 A Yes.
12 Q Okay. And, again, I apologize, this is an                   12 Q Are you aware of anyone who has said that they want
13 uncomfortable question. Are there any books, specifically     13 to challenge a book in the library's collection?
14 that you are aware of, that would fall under this category    14 A No one specifically, no.
15 of books that you know you would want to read?                15 Q When you say no one specifically -- and we have to be
16 A Yes.                                                        16 very technical. So when you say no one specifically, are
17 Q There are. Okay. What are those books?                      17 you aware of someone generally?
18 A I can't think of specific titles at the moment, off         18 A I imagine Tammi Hamby would, considering she is of
19 the top of my head.                                           19 the belief that books -- certain books shouldn't be
20    Ones that I have read, gosh, a specific author is          20 available to minors.
21 Colleen Hoover and John Green.                                21 Q But you're unaware of her ever saying that she
22 Q And what about their books -- and I understand that         22 planned on challenging a book --
23 you don't -- if you think of any titles as we go along,       23 A No.
24 feel free to come back to that.                               24 Q -- you're just making an assumption?
25    What about their books includes, you know, that list       25 A Yes.


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 1 of things that I just mentioned?                               1 Q Sorry. Are you just making an assumption about her?
 2     Just forget I asked that question and let me rephrase      2 A Yes.
 3 it. The books of theirs that you've read, is the entire        3 Q And when Mr. McLelland asked you about going to the
 4 book or most of the book even dealing with these things        4 Social Section -- I think he asked you something like how
 5 that I named; nudity, sexual conduct, sexual excitement        5 does that injure you or how does that harm you and I am
 6 and sadomasochistic abuse?                                     6 going to paraphrase, but I don't remember your answer.
 7 A Is your question if -- can you rephrase the question?        7 Please correct me if I'm wrong. I think you said that you
 8 Q Yeah. So in a book there might be -- you know, their         8 haven't checked anything out from the Social Section
 9 themes, kind of the literature term for theme and              9 because it is uncomfortable, the librarians might see you
10 sometimes those themes are the entire book is about that      10 because the section is right next to the librarian's desk.
11 one thing. Sometimes it might just be a few pages in the      11    Do you remember saying something like that?
12 book deal with that and it's just something that pops up a    12 A Yes.
13 couple of times.                                              13 Q So are you saying that you would not be injured, or
14     So I'm asking of the books that you've read of            14 you wouldn't feel injured if that Social Section was not
15 theirs, which category does that fall in? Is it something     15 there, if you could go somewhere else in the library and
16 that the entire book is about, or is it something that        16 pick out the book?
17 just appears in a few pages?                                  17            MS. BROWNSTEIN: I'm going to object. She
18 A It appears.                                                 18        never used the word injured.
19 Q Okay. So it's safe to say that you have not                 19 BY MR. WATSON:
20 previously read any books that are dedicated to discussing    20 Q Okay. I think the question did and we don't have to
21 these topics?                                                 21 go back, but at the very least you said it would be
22 A No.                                                         22 uncomfortable to go to the Social Section, right, or
23 Q Okay. And do you intend or are there any books that         23 currently is?
24 you are aware of, that you want to read, that are             24 A Yes.
25 predominantly concerned with those topics?                    25 Q Okay. I guess my question is what is the difference


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 1 between going to the Social Section and feeling               1 County Library, is what you are looking at in the Social
 2 uncomfortable, versus checking the book out? I mean,          2 Section, would that be visible to other patrons in the
 3 would you still feel uncomfortable at that point if you go    3 library?
 4 to the librarian's desk with the book, even if they hadn't    4 A Yes.
 5 seen you in the Social Section and the Social Section         5 Q Okay. How do you feel about other patrons being able
 6 didn't exist, because the librarian would still see it at     6 to see you looking at books that are in the Social Section
 7 that point, right?                                            7 now?
 8 A There, I believe, is a way to check out a book              8 A It is uncomfortable.
 9 without the librarian, to do it yourself.                     9 Q Why is that?
10 Q Do you know any more about that process?                   10 A Because of the controversy around the books that I
11 A I don't, but I'm aware of it.                              11 would be looking at.
12 Q Then I won't ask you any more details about that.          12 Q Do you think you should be able to browse in the
13     All right. I think that is all that I have. Thank        13 library and look at books without other patrons being able
14 you for your time.                                           14 to see what you're looking at?
15 A You're welcome.                                            15 A Yes.
16               EXAMINATION                                    16 Q Or checking out; is that right?
17 BY MS. BROWNSTEIN:                                           17 A Yes.
18 Q I have a few questions or maybe just a couple.             18 Q And you're aware there's an automatic checkout desk
19 A All right. If you wanted to read -- and you're 17          19 or machine at the library?
20 years old, right, you're a minor?                            20 A Yes.
21     Would you want to be able to read a book, even if it     21 Q The main library of the Crawford County Library; is
22 was predominantly about some of the subjects that            22 that right?
23 Mr. Watson stated, sadomasochism, all LGBTQ theme or         23 A Yes.
24 others? Would you want -- would you want to be prevented     24 Q And you went to the Library Board Meeting on January
25 from being able to check out a book even if it were          25 10th, 2023; is that right?


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 1 predominantly about the LGBTQ themes or sadomasochism or      1 A Yes.
 2 sex or other things that Mr. Watson mentioned?                2 Q Were there people at that library board meeting that
 3     Do you understand my question?                            3 were voicing objections to certain kinds of books?
 4           MR. WATSON: I'm going to object. I don't            4 A Many.
 5        know if this is technically an objection, but I        5 Q Many people were there?
 6        did not mention LGBTQ themes, so a                     6 A Yes.
 7        mischaracterization of the question.                   7 Q And what kinds of objections were they voicing?
 8 BY MS. BROWNSTEIN:                                            8 A That LGBT specifically would be targeted and taken
 9 Q Okay. Let's put it this way: If a book were                 9 away from minors.
10 predominately about LGBTQ themes, sadomasochism, sex, race   10 Q Okay. Based on your -- what you saw and heard at
11 whatever it is, would you want to be prevented from          11 that library board meeting, would you believe that these
12 accessing that book at the public library in Crawford        12 people might be likely to challenge a book if they were
13 County because of your age?                                  13 able to challenge a book based on the LGBTQ theme in that
14 A No.                                                        14 book?
15 Q Okay. Do you think you should be able to, at your          15 A Yes.
16 age, choose what books that you want to read without the     16 Q Okay. And so if Act 372, which you've challenged,
17 county government or the library board or the librarian      17 went into effect and members of the public were allowed to
18 telling you what you can read? Do you think you should be    18 challenge certain books based on their appropriateness for
19 able to read these books that have these themes?             19 minors to be able to read those books, based on what you
20 A Yes.                                                       20 saw at the library board meeting, do you think that those
21 Q Okay. You said it was uncomfortable for you to go          21 people would be likely to challenge books under Act 372?
22 into what is now the Social Section because it is right      22            MR. MCLELLAND: I'm going to object to
23 next to where the librarian's desk is; is that right?        23        form.
24 A Yes.                                                       24 BY MS. BROWNSTEIN:
25 Q When you go into the Social Section in the Crawford        25 Q I know it's a difficult question. The people that


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 1 you saw at the library board meeting were -- were voicing     1 college.
 2 objections to certain books based on LGBTQ themes; is that    2 Q Okay. Do you know if Crawford County Library System
 3 correct?                                                      3 has these three books; It Ends with Us, It Starts with Us,
 4 A Yes.                                                        4 and Looking for Alaska? Do you know if it has, in its
 5 Q Okay. So if they had the ability to challenge books         5 collection, those three books?
 6 under Act 372 and 372 went into effect, would you, in         6 A I'm not sure, but I would imagine they do. I have
 7 fact, think they would be the ones that would be likely to    7 more books if you would like them.
 8 challenge those books?                                        8 Q Yeah. Are there any books by Colleen Hoover or John
 9 A Yes.                                                        9 Green, that you were referencing, that are in the Crawford
10 Q Based on the fact that they had LGBTQ themes in them?      10 County Library's collection?
11 A Yes.                                                       11 A An Abundance of Katherines is a John Green book.
12 Q Okay. And those -- just because a book wasn't              12 Q Okay. And what's that about?
13 entirely based on LGBTQ content, but only a portion of       13 A It's another romance novel.
14 that book was, had something to do with LGBTQ themes, do     14 Q And when you were talking to Mr. Watson about Colleen
15 you still think it should be available to a minor like you   15 Hoover, John Green and their books potentially being
16 at 17 years old?                                             16 implicated by Act 372, do you believe that Act 372 would
17 A Yes.                                                       17 implicate An Abundance of Katherines, this John Green book
18 Q So it doesn't matter to you if the whole book had to       18 that Crawford County Library System has in its collection?
19 do with LGBTQ or only a portion of it did?                   19 A I think it's a possibility.
20 A No.                                                        20 Q Okay. And why do you think it's a possibility?
21 Q Okay. I think that's all I have.                           21 A It's in the Social Section already.
22            FURTHER EXAMINATION                               22 Q Okay. Do you know why it was put in the Social
23 BY MR. MCLELLAND:                                            23 Section?
24 Q Ms. Partain, where we're at in the deposition right        24 A I do not.
25 now, is I'm going to get to ask some follow-up questions     25 Q Do you know who determined that that book should go


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 1 and then they may ask some follow-up questions and slowly     1 in the Social Section?
 2 we're going to whittle our way down to no more questions,     2 A I do not.
 3 but now we get to do the round-robin and we all get to        3 Q We've all talked -- all the lawyers are getting hung
 4 follow up, so bear with us as we go back around the table     4 up on this uncomfortableness that you feel in the Social
 5 and I'm going to ask you some follow-up questions.            5 Section, and I'm going to circle back on it and I
 6 A All right.                                                  6 apologize to belabor the point.
 7 Q Do you remember talking with Mr. Watson about -- I          7     So you feel uncomfortable going to the Social
 8 think it was Colleen Hollier and John Green books?            8 Section; is that correct?
 9 A Colleen Hoover.                                             9 A Yes.
10 Q Hoover, thank you, and John Green?                         10 Q Imagine with me that the Social Section did not exist
11 A Yes.                                                       11 and that An Abundance of Katherines was on a different
12 Q What are the title of those books that you were            12 shelf in a different part of the library and you went and
13 referencing?                                                 13 picked up the book, you took it to the librarian to check
14 A A Colleen Hoover book is It Ends with Us. Another          14 it out, would you feel uncomfortable at that moment with
15 one is It Starts with Us.                                    15 that librarian?
16 Q What are those books about?                                16 A We already answered that. There's an automatic
17 A A woman struggling to -- It Ends with Us is about a        17 checkout. I wouldn't have to go to a librarian if I
18 woman struggling to get out of a abusive relationship and    18 didn't feel comfortable with it.
19 It Starts with Us is a sequel to the book about her          19 Q Assume that the automatic checkout system was down.
20 bettering herself and moving on with her life.               20 A I suppose it could be uncomfortable.
21 Q Any specific John Green books that you remember the        21 Q Okay. Have you ever used the automated checkout
22 title of?                                                    22 system?
23 A Looking for Alaska.                                        23 A No.
24 Q Okay. What is that book about?                             24 Q Okay. You spoke with your counsel, Ms. Brownstein.
25 A It's a romance story about a man and a woman in            25 She asked you something to the effect of at your age do


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 1 you believe that you ought to be able to check out            1 BY MR. WATSON:
 2 material based upon -- or she said something to the effect    2 Q All right. Just a few follow-up questions.
 3 of at your age do you believe that you ought to be able to    3     First, when you were speaking with your counsel a
 4 check out material kind of regardless of its subject          4 moment ago, you were talking about you don't think it's
 5 matter. Do you remember discussing that with her?             5 right for librarians to be choosing what books you can
 6 A Yes.                                                        6 read. Before that you said you'd only been to the library
 7 Q And you said that somebody my age -- or you said yes        7 three times or so in the last six months. Where do you
 8 to the fact that somebody at your age ought to be able to     8 normally get books to read?
 9 check out materials regardless of the subject matter.         9 A Either online or I buy them from bookstores or I buy
10     Do you have an opinion as to what age checking out a     10 them online.
11 book might be inappropriate?                                 11 Q And when you first said online, were you speaking
12 A I don't think I'm the person that should be deciding       12 about purchasing or checking out through like an online
13 that.                                                        13 library system or something else?
14 Q You said that somebody at your age at 17 should be         14 A Both.
15 able to check out a book kind of regardless of its           15 Q Okay. And how often do you read, or how many books
16 content. Should somebody at 16?                              16 do you read per month? Maybe a year is better; you're in
17 A Well, yes.                                                 17 school.
18 Q Should somebody at 15?                                     18 A It depends. I guess per year. A fair amount. I
19 A I suppose around age nine or ten, maybe.                   19 don't ...
20 Q Okay. And before age nine or ten -- well, never            20 Q That's fair. It doesn't matter. When you get older
21 mind.                                                        21 like me -- last question, I think, unless it spawns --
22     I need to clear something up. You were discussing,       22            MS. BROWNSTEIN: Listen to the question.
23 with Ms. Brownstein, about the January 10th Library Board    23        Don't be disarmed by his charm.
24 Meeting that you attended, and you said that during that     24 BY MR. WATSON:
25 meeting there were people targeting LGBTQ material and       25 Q So there's been a couple of questions about your --


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 1 then I missed a word, and then I caught you saying, and       1 you saying you think you should be able to check out books
 2 taking away that material for minors.                         2 regardless of the subject matter, based on age. Do you
 3    Do you remember saying that to Ms. Brownstein?             3 remember answering some of those questions?
 4 A Something to that effect.                                   4 A Yes.
 5 Q Okay. Has the LGBTQ material that is housed within          5 Q Do you have the same view about going to see movies,
 6 the Crawford County Library System been taken away from       6 R-rated movies?
 7 minors?                                                       7 A Yes.
 8 A Not yet.                                                    8            MR. WATSON: Okay. That's it.
 9 Q Okay. At the January 10th meeting, did the Library          9               EXAMINATION
10 Board speak about book challenges?                           10 BY MR. ADAMS:
11 A Not that I remember.                                       11 Q I think I just have one follow-up question, but it's
12 Q Okay. Are you aware -- when you talked to                  12 going to require a little wind-up and context, or one
13 Mr. Watson, you talked about challenging -- that you         13 follow-up topic, let's say.
14 believed that Ms. Hamby would challenge books in the         14     When we talked about book challenges under Section 5
15 future. Do you remember talking to him about that?           15 of Act 372, if it were to go into effect, one of the
16 A Yes.                                                       16 topics that came up was how that would work and who would
17 Q Okay. Are you aware whether Ms. Hamby has ever             17 be deciding and that sort of thing. So we talked about
18 challenged a book?                                           18 the fact that those challenges would go up, in the
19 A No.                                                        19 Crawford County case, to the Crawford County Quorum Court,
20 Q Okay. If I was -- would it surprise you if Ms. Hamby       20 specifically received by the county judge. Maybe I'm
21 stated under oath that she never advocated for books to be   21 saying more than we said before, but I'm trying to
22 removed from the library?                                    22 summarize fairly what Section 5 of the Act provides.
23 A Yes.                                                       23     So the question for you specifically is: Have you
24          MR. MCLELLAND: Okay. I'll pass.                     24 ever expressed any concern about the relocation of
25           FURTHER EXAMINATION                                25 Crawford County Library books based on themes to the


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 1 county judge?                                                1           MR. MCLELLAND: Okay. That's it.
 2 A Yes.                                                       2            FURTHER EXAMINATION
 3 Q And did you express that concern in person or in           3 BY MS. BROWNSTEIN:
 4 writing?                                                     4 Q During your last visit to the Van Buren Branch of the
 5 A Writing.                                                   5 Crawford County Library, did you speak to the librarians?
 6 Q Okay. And when was that writing, roughly?                  6 A Yes.
 7 A December of 2022.                                          7 Q And what did you talk to them about?
 8 Q Okay. And was that an email?                               8 A I asked them who could check out books from the
 9 A Yes.                                                       9 Social Section.
10 Q Okay. Can you summarize the email in one or two           10 Q And why did you ask this question? Was that the only
11 sentences?                                                  11 question you asked or did you ask other questions?
12 A I told Mr. Gilstrap that I don't believe it's right       12 A I asked them what -- if any minor could check out of
13 to segregate or relocate books with LGBTQ themes simply     13 the current Social Section and they told me any child
14 because they contain those themes.                          14 under 11 needs to have a parent or guardian with them at
15 Q Thank you. And I guess the last question is have you      15 all times.
16 provided that email to Ms. Brownstein, so that we can       16 Q Why did you ask these questions; what motivation did
17 produce it in this case?                                    17 you have for asking these questions?
18 A Yes.                                                      18 A Because those books were moved into the Adult Section
19          MS. BROWNSTEIN: And if I can find a                19 of the library.
20       printer.                                              20 Q And?
21          MR. ADAMS: That's all I have.                      21 A And they contained LGBTQ themes.
22           FURTHER EXAMINATION                               22 Q And so why did you ask the librarian these questions;
23 BY MR. MCLELLAND:                                           23 what motivated you to?
24 Q Okay. I've got a follow-up on that, not with              24 A I felt they were -- I'm not sure I understand the
25 Mr. Watson, but with Mr. Adams. You said that you emailed   25 question.


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 1 County Judge Gilstrap; is that right?                        1 Q So you asked why. What were you seeking? What
 2 A Yes.                                                       2 information were you seeking from the librarians when you
 3 Q Did he respond?                                            3 asked these questions? That's probably a better way to
 4 A No.                                                        4 ask it.
 5 Q Are you aware that the County Judge at Crawford            5 A If any minor could check out books from the section.
 6 County is no longer Judge Gilstrap?                          6 Q Okay. And what was the response?
 7 A Yes.                                                       7 A Any child under the age of 11 needs to have a parent
 8 Q And who is the current county judge?                       8 with them at all times.
 9 A Mr. Keith.                                                 9 Q So do you feel you got an answer to your question?
10 Q Have you expressed -- the concerns that you expressed     10 A No.
11 in the December of 2022 email, have you expressed those     11 Q Nothing else. Thank you.
12 concerns to Judge Keith?                                    12 A Okay.
13 A No.                                                       13            FURTHER EXAMINATION
14 Q Have you expressed those concerns to anyone on the        14 BY MR. MCLELLAND:
15 Library Board?                                              15 Q I have a follow-up on that. You said that you talked
16 A No.                                                       16 with the librarians at the Crawford County Library
17 Q Have you expressed those concerns to the current          17 System's Van Buren Branch?
18 Library Director Charlene McDonnough?                       18 A Yes.
19 A No.                                                       19 Q When was that; when did you have that conversation?
20 Q Have you expressed those concerns to the former           20 A Two days ago.
21 interim Library Director Eva White?                         21 Q Do you know the name of the librarian you spoke to?
22 A No.                                                       22 A I don't.
23 Q Have you expressed those concerns to former Library       23 Q How do you know that she was -- was it a he or a she?
24 Director Deidre Grzymala?                                   24 A She.
25 A No.                                                       25 Q Okay. How do you know that she's a librarian?


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 1 A She was behind the librarian's desk.                        1 Q It doesn't apply specifically to the Social Section?
 2 Q So you assumed that because she was behind the              2 A Yes.
 3 circulation desk, she was a librarian?                        3 Q Are you aware that a minor has to have parental
 4 A She worked there.                                           4 consent to get a library card in the Crawford County
 5 Q Okay. But you don't know her title or anything?             5 Library System?
 6 A No.                                                         6 A Yes.
 7 Q Okay. And you asked if minors could check out books         7 Q And are you aware that they have to have that library
 8 from the Social Section; is that right?                       8 card to check out any material in the Crawford County
 9 A Yes.                                                        9 Library System?
10 Q And the answer that they gave you was that a child         10 A Yes.
11 under eleven must have a parent at all times in the          11 Q Okay. So do you have a Crawford County Library card?
12 library?                                                     12 A Yes.
13 A Yes.                                                       13 Q If you did not have a Crawford County Library card,
14 Q Parent or guardian?                                        14 could you check out a book?
15 A Yes.                                                       15 A No.
16 Q Are you aware that that policy is a general policy to      16 Q You said that you spoke to the librarian two days ago
17 the library system?                                          17 about these checkout policies. What prompted you to ask
18 A Yes.                                                       18 them?
19 Q Okay. Are you aware that the policy states that it's       19 A There's a sign in the Social Section that says minors
20 ten years of age and younger, or if it's eleven years of     20 must be to complete.
21 age and younger?                                             21 Q And does it define minors; does it give an age?
22 A It's under eleven.                                         22 A I don't remember.
23 Q Okay. So they told you it was under eleven years of        23 Q Okay. Are you aware whether those signs are located
24 age?                                                         24 anywhere else in the Crawford County Van Buren Branch?
25 A Yes.                                                       25 A Not that I saw.


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 1 Q Not under ten years of age?                                 1 Q Okay. So if I was to say that there was sworn
 2 A Yes.                                                        2 testimony that those signs are located on the front door,
 3 Q Okay. So if I was to tell you that Crawford County          3 that testimony would be wrong?
 4 Library System's policy is that children ten years of age     4 A Can you repeat the question?
 5 and younger have to be accompanied by an adult, that would    5 Q If I had sworn testimony that said that there are
 6 be incorrect?                                                 6 signs on the Van Buren branches' front door that say that
 7 A Under eleven. Not eleven and under. Under eleven,           7 children ten and under must be accompanied by an adult,
 8 so ten and under, yes.                                        8 that testimony would be wrong?
 9          MR. ADAMS: Yeah, I'm confused by the                 9 A I'm not sure.
10       question too. Isn't ten and under the same as          10 Q Okay. That's all I've got.
11       under eleven?                                          11            MS. BROWNSTEIN: Nothing further.
12          THE WITNESS: Yes.                                   12            MR. ADAMS: Nothing further.
13          MR. MCLELLAND: Say that again.                      13            FURTHER EXAMINATION
14          MR. ADAMS: Isn't ten and under the same as          14 BY MR. WATSON:
15       under eleven?                                          15 Q Just one quick question. When you went to go talk to
16          MR. MCLELLAND: No, what about a ten and             16 the librarian, was that your idea?
17       half month old? I mean, a ten and a half year          17 A Yes.
18       old.                                                   18 Q Okay. That's all.
19          THE WITNESS: They told me under eleven.             19         (WHEREUPON, at 10:04 a.m., the
20 BY MR. MCLELLAND:                                            20          above deposition concluded.)
21 Q Under eleven?                                              21
22 A Yes.                                                       22
23 Q Okay. And you are aware that that's a general              23
24 policy?                                                      24
25 A Yes.                                                       25


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 1                    C E R T I F I C A T E
 2
     STATE OF ARKANSAS }
 3                     }
     COUNTY OF FAULKNER}
 4
     RE:   ORAL DEPOSITION OF MADELINE ANNE PARTAIN
 5
     I, Michelle R. Satterfield, CCR, a Notary Public in and
 6   for Faulkner County, Arkansas, do hereby certify that the
     transcript of the foregoing deposition accurately reflects
 7   the testimony given; and that the foregoing was
     transcribed by me, or under my supervision, on my Eclipse
 8   computerized transcription system from my machine
     shorthand notes taken at the time and place set out on the
 9   caption hereto, the witness having been duly cautioned and
     sworn, or affirmed, to tell the truth, the whole truth and
10   nothing but the truth.
     I FURTHER CERTIFY that I am neither counsel for, related
11   to, nor employed by any of the parties to the action in
     which this proceeding was taken; and, further that I am
12   not a relative or employee of any attorney or counsel
     employed by the parties hereto, nor financially
13   interested, or otherwise, in the outcome of this action.
     In accordance with the Arkansas Rules of Civil Procedure,
14   Rule 30(e), review of the foregoing transcript by the
     witness was not requested by the deponent or any party
15   thereto.
     GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 24th
16   day of March 2024.
17
18
19
20
                              _________________________________
21                              Michelle R. Satterfield, CCR
                                LS Certificate No. 570
22                              Notary Public in and for
                                Faulkner County, Arkansas
23
24
25




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